


  CORTIÑAS, J.
 

  As in
  
   State v. Roberts,
  
  963 So.2d 747 (Fla. 3d DCA 2007),
  
   State v. Green,
  
  932 So.2d 365 (Fla. 3d DCA 2006),
  
   State v. Brownell,
  
  922 So.2d 244 (Fla. 3d DCA 2006), and
  
   State v. Mendez,
  
  835 So.2d 375 (Fla. 3d DCA 2003), we reverse the downward departure sentence entered pursuant to a court-initiated agreement with the defendant, in which the State did not participate, as it was unaccompanied by oral or written reasons justifying the departure. See
  
   State v. Barr,
  
  947 So.2d 1277 (Fla. 3d DCA 2007);
  
   State v. Alma,
  
  947 So.2d 637 (Fla. 3d DCA 2007);
  
   State v. Perez,
  
  802 So.2d 1167 (Fla. 3d DCA 2001),
  
   review denied,
  
  823 So.2d 125 (Fla.2002);
  
   State v. Paulk,
  
  813 So.2d 152 (Fla. 3d DCA 2002),
  
   review denied,
  
  832 So.2d 105 (Fla.2002).
 

  The sentence is therefore reversed with directions to enter sentence within the
   
   *230
   
  guidelines or to permit the defendant to withdraw his plea.
 

  Reversed and remanded.
 
